
47 So. 3d 904 (2010)
Alfredo DOMINGUEZ, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-757.
District Court of Appeal of Florida, Third District.
October 27, 2010.
Alfredo Dominguez, in proper person.
Bill McCollum, Attorney General, and Nicholas Merlin, Assistant Attorney General, for appellee.
Before RAMIREZ, C.J., and GERSTEN and SALTER, JJ.
PER CURIAM.
We reverse the order summarily denying Alfredo Dominguez's motion for additional credit for time served because nothing attached to the order on appeal demonstrates that Dominguez is not entitled to the additional credit he seeks. Aristides v. State, 44 So. 3d 195 (Fla. 3d DCA 2010); Parks v. State, 18 So. 3d 1199 (Fla. 3d DCA 2009). This cause is remanded for further proceedings.
Reversed and remanded.
